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    EXHIBIT 6
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                              Monsanto Litigation Cases



 Glyphosate Uses and its Contributions to Agriculture, Environment, Natural Resources
                    and Protection of Human and Animal Health




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A.     Glyphosate and Adjuvants

Glyphosate is usually applied with adjuvants to improve efficacy. Various types of adjuvants are
premixed with the formulated product or added to the spray tank. These adjuvants enhance
herbicide diffusion across the cuticle by penetrating into the plant cuticle and improving
herbicide uptake (Devies et al 1993). In addition, water-conditioning agents are another major
type of adjuvant that frequently are applied with glyphosate. Because glyphosate can exist as a
negatively charged molecule after mixing in water, it can react with positively charged ions (also
called cations) in the water. Water containing a high concentration of cations is commonly called
hard water. Some common cations in hard water include sodium (Na+), potassium (K+), calcium
(Ca2+), magnesium (Mg2+), and iron (Fe2+ or Fe3+). Cations with more than one positive charge
bind strongly to glyphosate and reduce its ability to be absorbed into plant leaves. (Miller et al
2012).

Water conditioners, such as ammonium sulfate (AMS) or other proprietary adjuvants, help to
soften hard water. When AMS is added to water, the compound splits into two ammonium ions
(NH4+) and one sulfate ion (SO42-). This ionized AMS helps improve glyphosate performance in
two ways. First, if glyphosate binds to ammonium, the resultant molecule is much more easily
absorbed through the leaf cuticle, through the cell wall, or across the plasma membrane of
certain weed species than when glyphosate is bound to other cations. Second, sulfate
preferentially binds to calcium, magnesium, and iron cations in the water, thus removing them
from the solution and leaving more glyphosate free to move into the weed plant (Miller et al
2012).

B.     Glyphosate’s Physiochemical, Physiological, and Environmental Properties

Glyphosate poses very little risk to the environment and natural resources due to its low toxicity
and volatility. It generally has low acute oral, dermal, and inhalation toxicities. The LD50 (lethal
dose 50) is the dose of a substance required to be lethal to 50% of the organisms in a specific test
situation. It is expressed in weight of the chemical (mg) per unit of body weight (kg); the higher
the number, the safer the product. The LD50 for glyphosate is over 5000 mg/kg (Shaner 2014).
This is 2000 mg/kg higher than the LD50 of common table salt (Sax and Rein 1979). In addition,
the commercial formulations of glyphosate have low volatility—that is, they have a low
tendency to vaporize—meaning they can be applied to an area with little risk of vapor drift
damage to nearby plants. The higher vapor pressure, the more volatility and air pollution will
occur. Vapor pressures are 2.45 x 10-8, 2.9 x 10-6, 1.9 x 10-5, 1.92 x 10-2, 1.33 x 10-1, 3162 Pascal
for glyphosate, simazine, 2,4-D, clomazone, dichlobenil, and water, respectively. Water vapor
pressure is 1.3 billion times greater than the glyphosate vapor pressure. Thus, glyphosate is
significantly less volatile than other common chemicals (Shaner 2014).

The physical and chemical properties of an herbicide can give valuable information about how
that herbicide will behave in plants, soil, and the environment. Glyphosate is a simple molecule

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and its chemical structure is not shared by any other herbicide. Although glyphosate’s chemical
structure is unique, none of its physical properties raise any concerns about its suitability as an
environmentally benign herbicide. For example, glyphosate has a water solubility of 15.7 g/L,
which is within the range of many other commonly used herbicides for vegetation management.
The water solubility of glufosinate, prometon, paraquat, 2,4-D amine, picloram, hexazinone, and
imazapyr are 1,370, 720, 620, 729, 200, 33, and 11.3 g/L, respectively (Shaner 2014). The low
water solubility of glyphosate is important because low water solubility decreases the movement
of an herbicide in soil, preventing it from contaminating ground water.

Additionally, glyphosate has a higher soil-binding potential as compared to several other
herbicides commonly used in field and vegetable crops, turfs, orchards, and vegetation
management. Soil-binding potential is measured by the Koc, which is the amount of a chemical
that is adsorbed in the soil. The higher an herbicide’s Koc value, the less mobile it will be in the
soil and less likely to leach to ground water. The Koc for glyphosate, glufosinate, 2,4-D, and
picloram are 24,000, 100, 20, 16 mL/g, respectively (Shaner 2014). Glyphosate’s higher soil
binding potential provides another reason that it will not contaminate groundwater. By
comparison, other herbicides (such as picloram) which have lower soil binding potentials are
more likely to contaminate groundwater. Certain states such as California will not allow
picloram to be used for this reason.

The main mechanism of glyphosate’s phytotoxicity is the inhibition of 5-enolpyruvylshikimate-
3-phosphate synthase (EPSPS), a key enzyme in the shikimate pathway, which is involved in the
synthesis of the aromatic amino acids (Figure 8). Amino acids are the building blocks for plant
proteins. Several metabolites of the shikimate synthesis pathway are precursors of other
molecules that are needed for plant growth and development such as plant hormones, phenolic
compounds, vitamins, flavonoids, and coumarines. The shikimate pathway is not found in animal
cells, but it is important in the metabolism of plants, fungi, and some bacteria (Dill et al. 2010,
Devine 1993). Inhibition of EPSPS leads to deregulation of the shikimate pathway due to
increased activity of certain enzymes (Fischer et al. 1986, Pinto et al. 1988). Glyphosate also
causes uncontrolled flow of carbon into the shikimate pathway, removing building blocks and
secondary metabolites from other metabolic pathways (Killmer et al. 1981).




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